
In re: Sallie H. Sentell, Jean Sentell Mendenhall, Sallie Sentell Roberts, Charles Sherburne Sentell, Jr., Samuel Webb Sen-tell, Robert L. Efurd, Jr., Euland Efurd, George R. Womack, Jackie D. Nelson, Pincus Gardsbane, Frontier Oil Corp., Jack T Rorex, Sarah L. Fairman &amp; Charles D. Beard, Jr., applying for certiorari, or writ of review, to the Court of Appeal, Second Circuit, Parish of Caddo, 299 So.2d 869.
It is ordered that the writ of review issue; that the Court of Appeal send up the record in duplicate of the case; and that counsel for plaintiff and defendant be notified.
DIXON, J., recused.
